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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

   IN RE: ZANTAC (RANITIDINE)                                                                   MDL NO. 2924
   PRODUCTS LIABILITY LITIGATION                                                                 20-MD-2924

                                                 JUDGE ROBIN L. ROSENBERG
                                       MAGISTRATE JUDGE BRUCE E. REINHART
   ___________________________________/

   THIS DOCUMENT RELATES TO ALL CASES


                              AMENDED PRETRIAL ORDER # 31 1
        Procedures for Master Pleadings and Short Form Complaints in Personal Injury Cases

   I.       SCOPE OF ORDER

            This Order applies to all personal injury cases already pending in MDL No. 2924, and to

   all personal injury actions transferred to or directly filed in MDL No. 2924 after the date of this

   Order or otherwise expressly identified herein.

   II.      MASTER PLEADINGS

            In light of the number of complaints filed to date and likely to be filed in or transferred to

   MDL No. 2924, and the inefficiencies of drafting unique complaints and individual answers to

   those complaints, the Parties have agreed to the following procedures for the use of master

   pleadings in personal injury cases.          Nothing in this Order is intended to (or does) alter the

   applicable provisions of the Federal Rules of Civil Procedure or the Local Rules of this Court,

   except as otherwise provided herein or in any subsequent Order.




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    The Court VACATES Pretrial Order # 31 at docket entry 876 and substitutes this Amended Order in its place. The
   Court makes this amendment to clarify the provisions regarding the filing and amendment of Short Form Complaints.
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          A.      MASTER COMPLAINT

        1. Timing. By June 22, 2020, Plaintiffs shall file a Master Personal Injury Complaint on

   behalf of all Plaintiffs asserting personal injury claims in MDL No. 2924.

        2. Effect of Master Personal Injury Complaint. All claims pleaded in the Master Personal

   Injury Complaint will supersede and replace all claims pleaded in any complaint previously filed

   in or transferred to MDL No. 2924, to the extent applicable under the procedural and substantive

   law that applies to previously filed actions, including this Order. Nothing in this Order shall

   preclude Plaintiffs from seeking leave to amend the Master Personal Injury Complaint as provided

   in the Federal Rules of Civil Procedure.

          B.      SHORT FORM COMPLAINT

        3. At the time of filing of the Master Personal Injury Complaint, Plaintiffs will attach as an

   exhibit thereto the Master Short Form Complaint (the “Short Form Complaint”) for use in personal

   injury cases in MDL No. 2924.

        4. The Short Form Complaint shall adopt the Master Personal Injury Complaint by reference

    and shall contain, at a minimum, for each individual case:

                  a. The name of the person alleging injury;

                  b. Whether the claim is being brought by the person alleging injury or on behalf

                     of someone else;

                  c. The name of any loss of consortium Plaintiff;

                  d. The city or county and state in which the person alleging injury currently resides

                     (if the product user is deceased, where the user resided at the time of death);

                  e. If the case is filed directly into MDL No. 2924, identification of the federal

                     district of residence in which the action otherwise would have been filed absent

                     the direct filing procedure, pursuant to Pretrial Order # 11 (D.E. 422);

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                f. If the case was originally filed in or removed to another federal district court

                     and transferred to MDL No. 2924, the federal district court and division in

                     which the action was originally filed or to which it was removed;

                g. Whether the Zantac or ranitidine product(s) used was obtained by prescription

                     or over the counter;

                h. The approximate dates the medication was used;

                i.   The injury or injuries Plaintiff(s) alleges resulted from Zantac or ranitidine use;

                j.   The dates of diagnosis of the alleged injury or injuries;

                k. If applicable, the date of death of the Zantac/ranitidine user;

                l.   The specific Defendant(s) against whom the Plaintiff(s) asserts claims;

                m. As to each Defendant, the causes of action in the Master Personal Injury

                     Complaint the Plaintiff(s) adopts (including whether any Plaintiff(s) is asserting

                     a claim for loss of consortium, survival, or wrongful death), indicated by

                     checking the applicable box on the Short Form Complaint;

                n. Additional allegations or causes of action not pleaded in the Master Personal

                     Injury Complaint, if any; and

                o. Whether Plaintiff(s) demands a jury trial.

         5. For each action directly filed in or transferred to MDL No. 2924 subject to this Order,

      the Master Personal Injury Complaint together with the Short Form Complaint shall be deemed

      the operative Complaint.

         6.     Timing and Effect of Filing Short Form Complaints:

                a.   Complaints Filed or Transferred Before Date of Master Personal Injury

         Complaint. Any Plaintiff who filed (or files) a complaint in MDL No. 2924 or had (or has)



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         a Complaint transferred to MDL 2924 before the date of filing of the Master Personal Injury

         Complaint must file a Short Form Complaint in his or her member (i.e., individual) case

         within sixty (60) days of the date on which the Master Personal Injury Complaint is filed.

         Short Form Complaints shall not be filed on the master MDL docket. Any Plaintiff who

         has filed a Short Form Complaint only on the master MDL docket shall file the Complaint

         in his or her member case within twenty (20) days of the date of this Amended Order.

                b. Complaints Filed on or after Date of Master Personal Injury Complaint. Any

         Plaintiff who files directly in MDL No. 2924 must file his or her complaint as a Short Form

         Complaint in a new case, which will be the Plaintiff’s member case. Any Plaintiff who

         files a complaint that is transferred into MDL No. 2924 on or after the date of filing of

         Master Personal Injury Complaint must file a Short Form Complaint in his or her member

         case. In the event a complaint is directly filed in MDL 2924 on or after the date of the

         Master Personal Injury Complaint, Plaintiff(s) must file a Short Form Complaint within

         sixty (60) days. In the event a complaint is transferred to MDL No. 2924 on or after the

         date of the Master Personal Injury Complaint, Plaintiff(s) must file a Short Form Complaint

         within sixty (60) days of the date of transfer (which shall be the date this Court posts the

         Transfer Order on its docket). Short Form Complaints shall not be filed on the master

         MDL docket. Any Plaintiff who has filed a Short Form Complaint only on the master

         MDL docket shall file the Complaint in his or her member case within twenty (20) days

         of the date of this Amended Order. For purposes of statutes of limitations and statutes of

         repose, any such Plaintiff shall be deemed to have filed his or her complaint as of the date

         he or she filed his or her original complaint and not the date of the Master Complaint or




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         the date he or she filed his or her Short Form Complaint, taking into account, as applicable,

         the tolling provisions set forth in Pretrial Order # 15 (D.E. 547).

              c. No Multi-Plaintiff Complaints. Each Plaintiff must have an individual complaint

         on file. Any Plaintiff who asserts claims in a multi-plaintiff complaint that is pending or

         that is subsequently filed or transferred to MDL No. 2924 must file an individual Short

         Form Complaint within sixty (60) days of the date of the filing of the Master Personal

         Injury Complaint or within sixty (60) days of the date of filing or transfer, whichever is

         later. This provision does not apply to Plaintiffs who solely assert derivative claims.

               d. Amended Short Form Complaints. A Plaintiff may file an amended Short Form

         Complaint at any time during the pendency of MDL No. 2924 without seeking leave of

         court, unless the Court orders otherwise or unless the effect of the amendment would be to

         destroy diversity, in which case leave of court is required. Any amendment to a Short Form

         Complaint, or any motion seeking leave to file an amended Short Form Complaint where

         diversity would be destroyed, shall be filed in the Plaintiff’s member (i.e., individual) case.

         Amended Short Form Complaints and motions to amend shall not be filed on the master

         MDL docket. Any Plaintiff who has filed an amended Short Form Complaint only on the

         master MDL docket shall file the amended Complaint in his or her member case within

         twenty (20) days of the date of this Amended Order. Any amended Short Form Complaint

         shall specify in its title the version of the amended Complaint (i.e., “First Amended Short

         Form Complaint”) and shall specify in a footnote all changes made to the prior version of

         the Short Form Complaint, with citations to the paragraphs that have been changed. If a

         Short Form Complaint has been amended to remove certain claims or parties, the title of

         the document shall include the parenthetical “(DISMISSALS INCLUDED).” For



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          example, a second amendment to remove a Defendant would be entitled “SECOND

          AMENDED COMPLAINT (DISMISSALS INCLUDED).”

          C.      MASTER ANSWER

       7. By August 23, 2020, each Defendant shall file a Master Answer to the Master Personal

   Injury Complaint or shall file a consolidated Rule 12 motion to dismiss the Master Personal Injury

   Complaint, in whole or in part, as set forth in the Stipulated Discovery and Case Management

   Schedule (Pretrial Order # 30). To the extent Defendants file Rule 12 motions to dismiss the

   Master Personal Injury Complaint, whether in whole or in part, Defendants will file one

   consolidated motion per category of defendant—e.g., the generic defendants will file a single

   motion, the retailer defendants will file a single motion, and the brand defendants will file a single

   motion.

       8. If any Defendant files a motion to dismiss the Master Personal Injury Complaint and such

   motion does not result in the dismissal of the Master Personal Injury Complaint in its entirety, that

   Defendant shall file a Master Answer within forty-five (45) days of the date on which the Court

   issues a ruling as to its motion to dismiss, provided that the Court does not grant Plaintiffs leave

   to amend the Master Personal Injury Complaint. If the Court grants Plaintiffs leave to amend the

   Master Personal Injury Complaint, within thirty (30) days of such Order, Plaintiffs shall file an

   Amended Master Personal Injury Complaint. Defendants shall file a Master Answer or motion to

   dismiss the Amended Master Personal Injury Complaint, in whole or in part, within thirty (30) days

   after the date of filing the Amended Master Personal Injury Complaint.

     9.   Each Defendant’s Master Answer shall be deemed to be that Defendant’s Answer to all

    properly served complaints in which that Defendant is named, whether a Short Form Complaint

    or otherwise, in any case now or in the future pending in MDL No. 2924, including those cases



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    filed directly in MDL No. 2924 as authorized by this Court, transferred to MDL No. 292 pursuant

    to 28 U.S.C. §1407, or removed to this Court and included in MDL No. 2924. Defendants are

    hereby relieved of the obligation to file any further Answer to any Short Form Complaint filed in

    MDL No. 2924, or in any case transferred to MDL No. 2924, unless or until otherwise ordered

    by this Court.

     10. To the extent that a Plaintiff asserts in a Short Form Complaint any additional allegations

   or causes of action not pleaded in the Master Personal Injury Complaint, as provided in Paragraph

   4n above, any Defendant as to which such allegation or cause of action is pleaded shall not file a

   Rule 12 motion to dismiss until such later date as permitted or required by the Court, absent good

   cause shown and upon leave of Court, as set forth in Pretrial Order # 30.

     11. Each Defendant’s adoption of the Master Answer in each case in which that Defendant is

   named is without prejudice to any Defendant later moving to dismiss certain counts alleged in the

   Master Personal Injury Complaint (at the appropriate time in any individual Plaintiff’s action),

   asserting any affirmative defenses, filing an amended answer to address specifically any individual

   complaints, or otherwise challenging the sufficiency of any claim or cause of action in any

   complaint under the applicable state’s law in cases that may be selected for inclusion in a discovery

   pool or bellwether trial pool. Any proposed Order submitted to this Court for a process of selecting

   cases for inclusion in a discovery pool or bellwether trial pool must include a proposed procedure

   for the filing of dispositive motions and/or specific answers applicable to those cases.

      12.   By agreeing to the procedures for filing the Master Personal Injury Complaint and the

   Short Form Complaint, no Defendant has agreed to or admitted the allegations set forth in those

   documents, nor has any Defendant conceded or waived its rights to dispute the legal validity of

   the claims alleged therein.



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      13. Nothing in this Order shall limit any Defendant’s right to amend its Master Answer as

   provided in the Federal Rules of Civil Procedure.

            D.       VOLUNTARY DISMISSALS

      14.        Federal Rule of Civil Procedure 41 shall govern a Plaintiff’s dismissal of an action.

   See also Pretrial Order # 39.

            DONE and ORDERED in Chambers, West Palm Beach, Florida, this 18 day of August,

   2020.




                                                  ROBIN L. ROSENBERG
                                                  UNITED STATES DISTRICT JUDGE




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